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                         No. 23-60284

                             In the
           United States Court of Appeals
                     for the Fifth Circuit

                  MORRIS & DICKSON CO., LLC,
                           Petitioner,

                                 v.
  UNITED STATES DRUG ENFORCEMENT ADMINISTRATION,
                          Respondent.


          On Petition for Review of an Order of the
                 Drug Enforcement Agency


         OPPOSED MOTION FOR STAY PENDING
               PETITION FOR REVIEW

Jim Walden                            Jeffrey R. Johnson
John Curran                             Counsel of Record
Veronica M. Wayner                    Harry S. Graver
James Meehan                          JONES DAY
WALDEN MACHT & HARAN LLP              51 Louisiana Ave., N.W.
250 Vesey Street, 27th Floor          Washington, D.C. 20001
New York, NY 10281                    (202) 879-3939
(212) 335-2030                        jeffreyjohnson@jonesday.com
jwalden@wmhlaw.com

      Counsel for Petitioner Morris & Dickson Co., LLC
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              CERTIFICATE OF INTERESTED PERSONS

       No. 23-60284, Morris & Dickson Co., LLC v. U.S. Drug
                   Enforcement Administration

     The undersigned counsel of record certifies that the following listed

persons and entities as described in the fourth sentence of Fifth Circuit

Local Rule 28.2.1 have an interest in the outcome of this case. These

representations are made in order that the judges of this Court may

evaluate possible disqualification or recusal.

     1.      Petitioner Morris & Dickson Co., LLC is a Louisiana limited

liability company. Its parent company is Morris & Dickson Holding Co.

L.L.C., a Louisiana limited liability company.

     2.      The owners of Morris & Dickson Holding Co. L.L.C. are

individual members of the Dickson family and their trusts. See 5th Cir.

R. 28.2.1 (“If a large group of persons or firms can be specified by a generic

description, individual listing is not necessary.”).

     3.      Respondent United States Drug Enforcement Administration

is a federal agency.




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Petitioner                                Counsel

Morris & Dickson Co., LLC                 Jeffrey R. Johnson
                                          Megan Lacy Owen
                                          Harry S. Graver
                                          JONES DAY
                                          51 Louisiana Ave., N.W.
                                          Washington, D.C. 20001
                                          (202) 879-3939
                                          jeffreyjohnson@jonesday.com

                                          Jim Walden
                                          John Curran
                                          Veronica M. Wayner
                                          James Meehan
                                          WALDEN MACHT & HARAN LLP
                                          250 Vesey Street, 27th Floor
                                          New York, NY 10281
                                          (212) 335-2030
                                          jwalden@wmhlaw.com

Respondent                                Counsel

United States Drug                        Hallie Hoffman
Enforcement Administration                Paul Dean
                                          David M. Locher
                                          Dayle Elieson
                                          Timothy J. Shea
                                          Office of Chief Counsel
                                          U.S. DRUG ENFORCEMENT
                                          ADMINISTRATION
                                          8701 Morrissette Drive
                                          Springfield, VA 22152
                                          (571) 776-2840




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                                  Joshua M. Salzman
                                  Anna M. Stapleton
                                  Civil Division, Appellate Staff
                                  U.S. DEPARTMENT OF JUSTICE
                                  950 Pennsylvania Ave., N.W.
                                  Washington, D.C. 20530
                                  (202) 514-3511
                                  joshua.m.salzman@usdoj.gov

Dated: June 2, 2023               /s/ Jeffrey R. Johnson
                                  Counsel of Record for Petitioner
                                  Morris & Dickson Co., LLC




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    MOTION FOR STAY PENDING PETITION FOR REVIEW

     On May 30, 2023, the United States Drug Enforcement

Administration entered a Final Order revoking Morris & Dickson Co.,

LLC’s registrations to distribute controlled substances. 88 Fed. Reg.

34,523 (May 30, 2023) (the “Order,” or Ex. A). Unless stayed, the Order

will force Morris & Dickson to close after more than 180 years in

business. Ex. A, 34,542-43. Not only is the Order’s harm impending,

concrete, and catastrophic—but it is also the product of a clearly

unconstitutional proceeding.

     The Order is set to take effect August 28, 2023. But it is necessary

for Morris & Dickson to seek a stay now. Absent one soon, as DEA itself

acknowledges, Morris & Dickson’s “customers and their patients” will

take the next 90 days to “find new suppliers” ahead of the Order going

into effect. Ex. B, 34,522. Moreover, in filing now, Morris & Dickson

ensures that this Court may have adequate time to consider this motion

in an orderly and prompt manner—and avoid the emergency briefing

that would necessarily follow should current settlement talks falter, and

the Order ultimately go into effect. (Counsel for Morris & Dickson have

consulted with counsel for DEA, and it opposes this request.)


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                            BACKGROUND

     Morris & Dickson is a wholesale drug distribution company

headquartered in Shreveport, Louisiana. Founded in 1841, it remains

family owned.      It is operated by highly experienced industry

professionals. It employs more than six hundred people, and provides

pharmaceuticals to thousands of healthcare providers across 29 states.

     Before this episode (which occurred more than five years ago),

Morris & Dickson had never faced any DEA enforcement action, fine, or

penalty in the history of its DEA registrations. And during the relevant

period, Morris & Dickson had a productive working relationship with

DEA. Between 2014 and 2017, DEA completed a number of audits and

reviews of Morris & Dickson, all without issue. In fact, DEA’s former

Head of its Diversion Control Division later testified that Morris &

Dickson’s compliance efforts during this time were “passionate, direct,

[and] sincere.” See Ex. C, 861:13-17, 862:12-14.

     Nonetheless, on May 2, 2018, DEA suspended Morris & Dickson’s

registrations through an Order to Show Cause (“OTSC”) and Immediate

Suspension of Registration (“ISO”), alleging primarily that Morris &

Dickson had failed to maintain effective controls against diversion. But


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the Western District of Louisiana soon enjoined the ISO on the ground it

was likely arbitrary and capricious.      Morris & Dickson Co., LLC v.

Sessions, No. 18-cv-605, 2018 WL 2393013 (W.D. La. May 8, 2018).

     Because DEA’s OTSC remained in effect, however, Morris &

Dickson requested an administrative hearing so that it could contest

DEA’s charges.     DEA assigned Administrative Law Judge Charles

Dorman.

     Before ALJ Dorman, Morris & Dickson repeatedly raised

constitutional challenges to DEA’s ALJ appointment and removal

processes. See, e.g., Ex. D, 37; Ex. E, 1; Ex. F, 21:1-15. The Supreme

Court soon endorsed the former (and withheld judgment on the latter),

holding in Lucia v. SEC that the SEC’s ALJs were “inferior officers”

under Article II and thus must be appointed by the President or a Head

of Department. 138 S. Ct. 2044, 2055 (2018).

     On the heels of Lucia, Morris & Dickson noted again in August 2018

that ALJ Dorman had been unlawfully appointed by the DEA

Administrator, and suggested that it would file a motion on those

grounds if the matter proceeded. Ex. D, 37; Ex. H, 36:7-37:2. Despite

Morris & Dickson’s concerns, ALJ Dorman continued to preside—holding


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hearings, considering submissions, and making significant decisions

about the proposed evidence and proposed stipulations of fact. See, e.g.,

Ex. H, 6:23-7:23 (evidentiary rulings); Ex. I, 4-6 (making relevancy

determinations); Ex. J, 2 (excluding stipulations and directing the parties

to prepare submissions); see also, e.g., Ex. K (Morris & Dickson

supplementing summary of witness’ anticipated testimony based on

ALJ’s prehearing ruling); Ex. L (submitting evidence pursuant to ALJ’s

order). Much of this occurred before ALJ Dorman’s appointment was

purportedly ratified by then-Attorney General Sessions on October 25,

2018.

        On October 26, 2018, Morris & Dickson filed suit in the Western

District of Louisiana to enjoin DEA’s administrative proceedings. Ex. E,

1. ALJ Dorman then stayed proceedings pending resolution. Ex. M, 3.

Before the Western District, Morris & Dickson alleged that DEA ALJs

were not properly appointed, and enjoyed unconstitutional protections

against removal. Ex. E, 1.

        In December 2018, the District Court dismissed the complaint for

lack of jurisdiction, ruling that Morris & Dickson had to proceed through

the administrative process first. Morris & Dickson Co. v. Whitaker, 360


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F. Supp. 3d 434, 452 (W.D. La. 2018). That jurisdictional holding was

indisputable error under Axon Enterprise, Inc. v. Federal Trade

Commission, 143 S. Ct. 890 (2023).

     At the restarted administrative proceedings in May 2019, Morris &

Dickson renewed its constitutional objections. Ex. F, 21:1-15. In August

2019, ALJ Dorman issued his recommendation, where he proposed

revoking Morris & Dickson’s DEA registrations. Ex. G, 158.

     All the while, Morris & Dickson completely redesigned its

compliance regime—spending millions of dollars enhancing its system to

a “best in class” standard—and continued to effectively serve the region

(including throughout the COVID-19 pandemic). Hatcher Decl. ¶ 22.

Morris & Dickson also tried to resolve this matter through settlement.

From August 2018 through November 2019, it offered several proposals

to DEA. Walden Decl. ¶ 3. Between January 2022 and July 2022 Morris

& Dickson and DEA engaged in more productive negotiations, and on

three occasions traveled to Virginia for in-person meetings. Id. ¶¶ 4-6.

By November 18, 2022, the parties had made meaningful headway, and

DEA conveyed it could likely agree to one of Morris & Dickson’s key

requirements. Id. ¶ 7. On May 19, 2023, following an unusual six-month


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lull in settlement talks, DEA informed Morris & Dickson that it was

prepared to resume discussions. Id. ¶¶ 10-11.

        Inexplicably, however, just one hour later on May 19, the

Administrator served Morris & Dickson with a copy of the Order, which

adopted the ALJ’s recommendation and revoked Morris & Dickson’s

registrations. Id. ¶ 12. The Order came nearly four years after the ALJ

issued his recommendation—as well as after Morris & Dickson had

overhauled its compliance system; helped Louisiana navigate the

COVID-19 pandemic; and appointed a new, experienced Chief Executive

Officer, General Counsel, and Chief Compliance Officer. Hatcher Decl.

¶ 22.

        On May 20, 2023, Morris & Dickson asked DEA to stay its Order

pending this Court’s review.       On May 23, 2023, the Administrator

declined to do so, but delayed its effective date to 90 days after

publication. Ex. B, 34,522. The Administrator based this decision on the

“potential need for [Morris & Dickson’s] customers … to find new

suppliers given the revocation of [its] registrations” and the “possibility

for renewed settlement negotiations.” Id.




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     Given the Order’s publication, however, Morris & Dickson cannot

wait further without risking near-certain ruin. Absent some assurance

Morris & Dickson will be able to challenge the Order in court, its

customers will undoubtedly move to find new suppliers in the coming

months—as DEA itself acknowledges.          Id.; Hatcher Decl. ¶¶ 12-15;

Casida Decl. ¶¶ 6-11; Hunter Decl. ¶¶ 8-10. To ensure the Order does

not destroy the Company before it is declared unlawful, Morris & Dickson

seeks a stay. See, e.g., Order, Masters Pharm., Inc. v. DEA, No. 15-1335

(D.C. Cir. Oct. 14, 2015) (per curiam) (granting similar stay).

           LEGAL STANDARD FOR MOTION TO STAY

     This Court considers four factors to determine whether to stay an

agency order pending review: “(1) whether the stay applicant has made a

strong showing that he is likely to succeed on the merits; (2) whether the

applicant will be irreparably injured absent a stay; (3) whether issuance

of the stay will substantially injure the other parties interested in the

proceeding; and (4) where the public interest lies.” R.J. Reynolds Vapor

Co. v. FDA, 65 F.4th 182, 188 (5th Cir. 2023). The first two factors “are

the most critical,” and the last two merge when the government is the




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party opposing the stay request. Nken v. Holder, 556 U.S. 418, 434-35

(2009).

                                ARGUMENT

      Morris & Dickson now faces commercial annihilation if this Court

does not stay the agency’s unlawful Order pending review. DEA stands

to lose only the immediate implementation of a sanction that it waited

nearly four years to impose and had no authority to issue.

I.    MORRIS & DICKSON IS LIKELY TO SUCCEED ON THE
      MERITS

      Morris & Dickson is likely to succeed on the merits by showing both

(A)   that     DEA    conducted    an    unlawful    proceeding      before   an

unconstitutional ALJ, and (B) that the Administrator acted arbitrarily

and capriciously. A movant need only present “a substantial case …

when a serious legal question is involved.” Campaign for S. Equality v.

Bryant, 773 F.3d 55, 57 (5th Cir. 2014). Morris & Dickson’s case is

overwhelming.

      A.      Morris & Dickson Is Entitled To A New Hearing Before
              A Constitutional Tribunal

      DEA conducted its hearing before an ALJ who is unconstitutionally

insulated from removal through a double layer of “for cause” protection,


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and who DEA retained in violation of the Appointments Clause. Those

defects warrant a stay of the Order that emerged from them. See, e.g.,

Burgess v. FDIC, 871 F.3d 297, 304 (5th Cir. 2017) (staying penalty due

to Appointments Clause challenge); Order, Cochran v. SEC, No. 19-10396

(5th Cir. Sept. 24, 2019) (per curiam) (same for administrative

proceeding).

           1.    DEA ALJs Are Unconstitutionally Insulated

     Article II vests “[t]he executive Power” in the President, including

ultimate authority to remove officers to ensure that the law is “faithfully

executed.” U.S. Const. art. II, § 1, cl. 1; id. § 3. The Supreme Court has

held that the Executive’s removal power may not be frustrated by more

than one layer of “for cause” protection. Free Enter. Fund v. PCAOB, 561

U.S. 477 (2010). And this Court has held that two layers of “for cause”

protection insulating ALJs are unconstitutional. Jarkesy v. SEC, 34

F.4th 446 (5th Cir. 2022).

     DEA ALJs’ tenure protections are plainly unlawful under Jarkesy.

There, this Court held that the multiple layers of “for cause” protection

insulating SEC ALJs from executive supervision violated Article II. Id.

at 463.   It did so because SEC ALJs “perform substantial executive


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functions,” yet multiple layers of “for cause” protection impede the

President from having “sufficient control over the performance of [those]

functions.” Id.

     There is no material difference between SEC ALJs and DEA ALJs.

Here, as there, DEA ALJs “exercise considerable power over

administrative case records.” Id. at 464. Here, as there, DEA ALJs

“control[] the presentation and admission of evidence.” Id. And here, as

there, DEA ALJs “perform substantial executive functions.” Id. at 463.

The Government has conceded as much, accepting such ALJs as inferior

officers. Ex. N, 3.

     DEA ALJs enjoy too the same double-layer insulation that this

Court held unconstitutional in Jarkesy. First, under the Administrative

Procedure Act, DEA ALJs (like SEC ALJs) may be removed only “for good

cause established and determined by the Merit Systems Protection

Board.” 5 U.S.C. § 7521(a); see also Jarkesy, 34 F.4th at 464 (identifying

this as one layer of “for cause” protection).        Second, Merit System

Protection Board members, in turn, may be removed by the President

only for “inefficiency, neglect of duty, or malfeasance in office.” 5 U.S.C.

§ 1202(d); see also Jarkesy, 34 F.4th at 465 (identifying this as second


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layer). Put together, DEA ALJs are insulated by two layers of “for cause”

protection.        That is unconstitutional—a point the Order does not

acknowledge, let alone try to address.

              2.     ALJ Dorman’s Unlawful Insulation Requires a
                     New Hearing

     The proper remedy for this sort of removal problem is a new hearing

before a new, proper adjudicator. Under the Supreme Court’s precedents,

a new hearing is the traditional remedy for separation-of-powers defects

in adjudications. See, e.g., Ryder v. United States, 515 U.S. 177, 182-83

(1995). That is so because such a defect—whether sounding in removal

or appointment—is akin to structural error; “it ‘affect[s] the framework

within which the trial proceeds,’ rather than being ‘simply an error in the

trial process itself.’” Weaver v. Massachusetts, 137 S. Ct. 1899, 1907

(2017). Here, much as Article III’s tenure protections are supposed to

guarantee judges exercise independent judgment, Article II’s unitary

structure is supposed to guarantee ALJs exercise their power under the

auspices of the President. When ALJs are insulated from that hierarchy,

their judgment is inherently compromised—corrupting the adjudication




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and necessitating a new hearing. Cf. Stern v. Marshall, 564 U.S. 462,

502-03 (2011); Bowsher v. Synar, 478 U.S. 714, 727 n.5 (1986).

     Because this matter arises under the APA and in the distinct

context of direct review of an specific agency adjudication, this case is

thus different in kind from Collins v. Yellen (a non-APA case where the

Court was asked to unwind the implementation of a hundred-billion-

dollar contract years after it had gone into effect), 141 S. Ct. 1761, 1787-

89 (2021), or Community Financial Services Ass’n of America, Ltd. v.

CFPB (where this Court was asked to vacate a generally applicable

notice-and-comment regulation), 51 F.4th 616, 633 (5th Cir. 2022). And

more fundamental, here, unlike those cases, the removal restriction is

not severable from the officer’s authority to act. See Collins, 141 S. Ct.

at 1787-88 & n.23. Congress vested DEA ALJs with power because of

their independence; their adjudicative authority rises (and falls) with

their tenure protections. A court may not “blue-pencil” the statutory

scheme Congress designed, all to fashion a fundamentally different

scheme in the name of saving part of the existing one. Free Enter. Fund,

561 U.S. at 509-10; see also Murphy v. NCAA, 138 S. Ct. 1461, 1482-84

(2018).


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     At minimum, in this context, the burden is on the Government—

not Morris & Dickson—to demonstrate that any removal defect was

harmless. See Chapman v. California, 386 U.S. 18, 24 (1967). Recall,

Morris & Dickson was (erroneously) barred from pursuing a pre-

enforcement challenge to the ALJ’s constitutional status. If Morris &

Dickson is also forced to now show prejudice after-the-fact to obtain

relief—a    nebulous    and    difficult    counterfactual       inquiry—the

unconstitutional removal restrictions at issue may well escape judicial

scrutiny entirely, contrary to precedent. Lucia, 138 S. Ct. at 2055 n.5.

           3.    ALJ Dorman’s Unconstitutional Appointment
                 Similarly Demands a New Hearing

     The Appointments Clause independently requires a new hearing.

All agree ALJ Dorman is an inferior officer, and thus his initial

appointment by the DEA Administrator violated the Constitution. Ex.

N, 3. And all agree the remedy for such an Appointments Clause problem

is ordinarily a new hearing before a properly appointed ALJ. Lucia, 138

S. Ct. at 2055 & n.5.

     It is no answer to this defect to say that ALJ Dorman was ratified

midway through proceedings, or that his actions before ratification were



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too trivial to trigger Lucia’s remedy. This because ALJ Dorman took

significant steps before he was purportedly ratified.              Supra at 3

(collecting examples). This is thus a straightforward case under Lucia.

There, the Supreme Court made plain that parties must receive one

hearing before an ALJ who has been previously untainted by the merits.

But here, ALJ Dorman had already grappled with the merits before he

was purportedly ratified.      See, e.g., Ex. H, 19:12-25:24.        Given this

exposure, it is impossible to say he had the open mind required by Lucia.

See 138 S. Ct. at 2055 n.5. A new hearing is necessary.

     DEA engages with none of this. Ex. A, 34,542-43. Instead, the

Order’s primary (really only) argument is that Morris & Dickson waived

its Appointments Clause challenge—the very challenge it voiced

repeatedly to ALJ Dorman, and even sued over in federal court. Id. at

34,542. That is wrong.1




     1  It bears note that the Attorney General’s purported ratification of
ALJ Dorman’s appointment is deeply suspect. There is no evidence to
support a finding that ratification occurred, let alone evidence that ALJ
Dorman took his constitutionally required oath upon receipt of the
ratification paperwork; that he received a commission from the
President; or that he engaged in any ceremony signifying his
appointment.

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     For starters, DEA should not even be heard to press this argument.

In convincing the Western District of Louisiana to dismiss Morris &

Dickson’s request to enjoin the administrative process, DEA asserted

over and again that “if [Morris & Dickson] does not prevail before the

Administrator, its appointment and removal claims will be subject to

review in a court of appeals.” Dkt. 24 at 12, Morris & Dickson Co., LLC

v. Sessions, No. 18-cv-1406 (W.D. La. Nov. 1, 2018). The district court

agreed, rejecting Morris & Dickson’s jurisdictional arguments largely

because “Morris & Dickson’s separation-of-powers challenges w[ould]

have their day in court.” Morris & Dickson Co., 360 F. Supp. 3d at 448.

Having wrongly convinced the district court to take that path, see Axon,

143 S. Ct. at 897, DEA cannot renege on its promise that Morris &

Dickson’s challenge could be heard now.

     In any event, DEA is incorrect—Morris & Dickson repeatedly

raised this objection.    As detailed above, it noted its constitutional

concerns and suggested it would file a motion on the point before ALJ

Dorman on August 3, 2018, Ex. D, 37; filed suit against DEA raising these

constitutional claims on October 26, 2018, Ex. E, 1; obtained a stay of




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ALJ proceedings on such grounds, Ex. M, 3; and renewed its objections

before ALJ Dorman on May 13, 2019, Ex. F, 21:1-15.

     DEA says Morris & Dickson somehow waived its constitutional

claims    by   not   “formally   request[ing]       reassignment”      after   the

administrative proceedings resumed, and suggests all Morris & Dickson

needed to do to get a new ALJ was ask. Ex. A, 34,542. That blinks

reality. During the litigation where Morris & Dickson sued to raise this

very issue, DEA took the position ALJ Dorman could continue to preside

once proceedings resumed—a position it apparently maintains today.

See Dkt. 24 at 14 n.5, Morris & Dickson Co., No. 18-cv-1406, supra

(arguing that ratification “cure[d] any constitutional defect”); Ex. A,

34,542 (same). In other words, the Agency had already told Morris &

Dickson that formally seeking reassignment would be rejected. Morris &

Dickson was thus under no obligation to pursue that “futil[e]” course.

Carr v. Saul, 141 S. Ct. 1352, 1361 (2021).

     All told, the Agency cites nothing for its counterintuitive view of

waiver. Nor could it. A party that repeatedly raises an objection—to say

nothing of suing in federal court over it—does not waive that objection.

And in all events, the Supreme Court has emphasized that it is


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“appropriate for courts to entertain constitutional challenges to statutes

… even when those challenges were not raised in administrative

proceedings.” Id. at 1360. Either way, waiver poses no bar to Morris &

Dickson’s constitutional claims.

      B.    The Order Is Arbitrary and Capricious

      The Order is also arbitrary and capricious twice over. To start, the

Order is flawed on its own terms. Namely, it uses the wrong frame of

reference—it is entirely backward-looking—and fails to meaningfully

analyze whether Morris & Dickson’s current, reformed operations are

inconsistent with the public interest going forward, as is statutorily

required. That omission is telling but not surprising: In waiting four

years to issue the Order so as to allow for a settlement (and in delaying

the Order’s effective date for the same reasons), DEA has effectively

conceded Morris & Dickson’s revised operations pose no prospective

threat to the public interest. Indeed, Morris & Dickson has affirmatively

benefited the public in recent years (especially during COVID-19),

through its enhanced compliance procedures. Nowhere does the Order

adequately explain why those procedures should be stopped—and that is

facially deficient.


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     Although these defects are sufficient to stay the Order, they are

compounded by the specter that the Order’s stated rationale is

pretextual.        The Order justifies its timing and scope on the ground

settlement talks had broken down between DEA and Morris & Dickson.

Ex. A, 34,540-41 n.92. But that is just not true; and every indication is

the real impetus behind the Order was an attempt to get ahead of an

upcoming story from the Associated Press. Morris & Dickson plans to

seek discovery on these points, should DEA not include all relevant

materials in the record. See, e.g., Thompson v. U.S. Dep’t of Lab., 885

F.2d 551, 555 (9th Cir. 1989) (administrative record includes “all

documents and materials directly or indirectly considered by agency

decision-makers”).

              1.      The Order Is Unreasoned on Its Own Terms

     The Administrator may revoke a company’s registrations if doing

so “is” inconsistent with the public interest. 21 U.S.C. § 823(b). As such,

the public interest analysis is necessarily forward-looking. See Hassman

v. Off. of the Deputy Adm’r, 515 F. App’x 667, 668 (9th Cir. 2013)

(touchstone of analysis is “misconduct in the future”); see also, e.g.,

Cardinal Health, Inc. v. Holder, 846 F. Supp. 2d 203, 221 (D.D.C. 2012)


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(“past misconduct” cannot constitute “sole basis” for decision). But here,

the Order is wholly backward-looking, and fails to give a reasoned

explanation for why revoking Morris & Dickson’s registrations is in the

public interest going forward.

     That defect is particularly glaring given DEA’s conduct here: What

the Order says is irreconcilable with what the Administrator has done.

Once more, in light of ongoing settlement negotiations, the Administrator

waited four years to issue the Order—during which Morris & Dickson

operated safely and effectively.      Hatcher Decl. ¶ 20.      Moreover, the

Administrator extended the effective date of the Order to 90 days so that

“renewed settlement negotiations” could potentially succeed.               Ex. B,

34,522.

     If Morris & Dickson’s current operations truly threatened the

public interest, the Administrator would not have waited a presidential

term to reach a decision, nor delay that decision in hopes of a settlement.

Rather, DEA’s actions reveal that a reformed Morris & Dickson—not a

closed one—is what is in the public interest. At minimum, the Order

needed to offer some reasoned explanation to square its edict with its

actions. It does not.


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     Worse, the Order—with its backward-looking lens—fails to

meaningfully engage with the fact Morris & Dickson has reformed over

the last number of years. As detailed above, and as even ALJ Dorman

acknowledged, Morris & Dickson has implemented an “impressive” array

of remedial measures that have reformed its operations. Ex. A, 34,539.

And as noted too, the efficacy of those remedial measures is not

theoretical—they have worked for the last few years, including under the

unprecedented demands of the recent pandemic.

     The Administrator instead gave short-shrift to these remedial

measures on the ground Morris & Dickson showed inadequate remorse.

Id. at 34,537-38. But that is both wrong, and nonsensical. The best

evidence of Morris & Dickson’s commitment to reform is the fact it has

reformed. The record includes ample, undisputed evidence of Morris &

Dickson revamping its compliance regime—including, for instance,

testimony by Louis Milione, a former Head of DEA’s Diversion Control

Division, emphasizing the efficacy of these new efforts. Id. at 34,524,

34,539-40. And it would have included more, had the ALJ not wrongly

excluded or discounted significant exculpatory evidence as to Morris &




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Dickson’s anti-diversion measures. See, e.g., Ex. O, 25-27; Ex. P, 15-18,

24-28.

     It was arbitrary and capricious to write off (or ignore) this evidence.

See, e.g., Jones Total Health Care Pharmacy, LLC v. DEA, 881 F.3d 823,

833 (11th Cir. 2018) (“Of course, corrective measures undertaken by a

pharmacy are certainly relevant to whether it can be trusted with a

registration”).    DEA proceedings are intended to be “non-punitive.”

Howard N. Robinson, M.D.; Decision & Order, 79 Fed. Reg. 19,356,

19,369 (Apr. 8, 2014). And again, the inquiry is what is in the public

interest going forward.      Accordingly, if a company has changed its

practices, a reasoned decision must analyze how those changes bear on

the public interest in the future. See Leo R. Miller, M.D.; Revocation of

Registration, 53 Fed. Reg. 21,931, 21,932 (June 10, 1988).

     Last, the above errors all came to a head in the Administrator’s

decision to opt for the most severe sanction possible—revocation—rather

than an alternative enforcement sanction—such as leadership changes

or third-party monitors. See Ex. O, 33-34 (chronicling lesser penalties for

similar registrants). The Order states in a single line that DEA has

“considered” alternative sanctions (Ex. A, 34,540-41 n.92), but offers no


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explanation for why those sanctions are inadequate. That would be

arbitrary and capricious in its own right; all the more so given DEA’s

conduct. Again, the Administrator’s stated preference is for this matter

to settle. Id.; Ex. B, 34,522. That is, the Administrator wants Morris &

Dickson to continue operating, just under certain conditions. A reasoned

decision must explain why DEA cannot accomplish through order what

it wishes to gain through settlement, and why revocation is appropriate

even though—on DEA’s own account—something less is ultimately what

benefits the public most. The Administrator makes no effort to address,

let alone answer, this tension.

     The APA “requires that agency action be reasonable and reasonably

explained.” FCC v. Prometheus Radio Project, 141 S. Ct. 1150, 1158

(2021). The Order fails that command at each turn.

           2.    The Order Is Likely Pretextual

     Independent from these facial defects is the fact the Order’s

rationale is likely pretextual, rendering it again arbitrary and capricious.

See Dep’t of Com. v. New York, 139 S. Ct. 2551, 2573-76 (2019). After four

years of waiting, the Administrator justified releasing the Order—and

revoking Morris & Dickson’s registrations—on the ground settlement


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talks had broken down. See Ex. A, 34,540-41 n.92. But that is just not

true. Walden Decl. ¶¶ 4-7, 10. Indeed, just an hour before the Order was

released, Morris & Dickson’s counterparty at DEA stated DEA was ready

to reopen settlement negotiations. Id. ¶¶ 10-11.

     So what changed? Days before the Order was released, a reporter

at the Associated Press—armed with a leaked copy of the ALJ’s

recommendation—had contacted the agency (and soon Morris & Dickson)

to inquire about why the Administrator had not yet acted. Id. ¶¶ 8, 10.

By all signs, and without notifying other internal stakeholders, the

Administrator—who was already facing increased press scrutiny for

other reasons2—immediately finalized and published the Order. See id.

¶¶ 11-12.

     There is serious reason to think the Administrator’s offered

reason—that settlement talks had broken down—is not the real reason.

For one, its premise is not true. And more telling, it defies credulity to

say that the above timeline is coincidental. Rather, the Order is likely



     2  Joshua Goodman & Jim Mustian, DEA chief faces probe into
‘swampy’ hires, no-bid contracts, AP News (Apr. 19, 2023),
https://apnews.com/article/dea-corruption-fentanyl-cocaine-drugs-
contracts-milgram-7fd24fe46c4b664f285773798357d418.

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pretextual; an effort to avoid press criticism rather than render a

reasoned administrative decision.

II.   MORRIS & DICKSON WILL SUFFER IRREPARABLE
      HARM ABSENT A STAY

      Absent a stay, revoking Morris & Dickson’s registrations will cause

immediate and irreversible harm that a later judicial decision cannot

remedy.

      To start, allowing the Order to go into effect will likely have

catastrophic consequences on Morris & Dickson’s business operations.

This because stripping Morris & Dickson of its DEA registrations will

effectively prevent it from selling any pharmaceuticals. In the healthcare

industry—due to market conditions and contracting practices—

pharmacies and other providers buy controlled and non-controlled

substances together from their primary distributor, with whom they have

a nearly exclusive relationship.       Hatcher Decl. ¶ 12.       Accordingly,

depriving Morris & Dickson of the ability to sell controlled substances

will cause its customers to purchase all of their pharmaceuticals

elsewhere. Id. ¶¶ 12-15. Importantly, that the Order’s effective date is

90 days from publication is no help on this score—absent a stay, Morris



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& Dickson’s customers will begin finding new suppliers immediately,

rather than scramble three months from now. Id. ¶ 13; Casida Decl.

¶¶ 6-11; Hunter Decl. ¶¶ 8-10; see also Ex. B, 34,522.

     Forcing Morris & Dickson to close its doors after over 180 years is

obvious irreparable harm.      More, it would be near impossible to

reconstitute Morris & Dickson after its forced dissolution, because of

reputational harm and the loss of goodwill. And even if Morris & Dickson

managed to stay in business, it would be unable to recover any monetary

damages—for reputational harm, lost sales, disrupted business

relationships—given DEA’s sovereign immunity. See Armendariz-Mata

v. U.S. DOJ, DEA, 82 F.3d 679, 682 (5th Cir. 1996).

     Given all this, even DEA has effectively conceded Morris & Dickson

is entitled to a stay at this juncture. In opposing Morris & Dickson’s

requested injunction to stop DEA’s administrative process, DEA alleged

Morris & Dickson did not face immediate “reputational injury” or “loss of

employment opportunities” at that time. Dkt. 24 at 20-21 & n.9, Morris

& Dickson Co., No. 18-cv-1406, supra. But in the next breadth, DEA

conceded that, if Morris & Dickson later faced revocation, it could “secure




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judicial review before ever losing its registration.” Id. at 21. DEA was

right then.

III. THE PUBLIC INTEREST FAVORS A STAY AND DEA WILL
     SUFFER NO PREJUDICE FROM ONE

     Morris & Dickson has demonstrated a likelihood of success on the

merits and irreparable harm, the two “most critical” stay factors. Nken,

556 U.S. at 434. The public interest also plainly favors a stay, and DEA

will not suffer any prejudice from a modest delay of the sanction it waited

four years to impose.

     Granting a stay serves the public interest. Foremost, a stay would

help avoid tremendous disruption to medical care throughout the nation.

Again, Morris & Dickson provides pharmaceuticals to thousands of

hospitals, pharmacies, and other providers in 29 states, some of which

are the most medically underserved in the country. Hatcher Decl. ¶ 9. It

also employs hundreds of people, all of whom would be potentially out of

a job without this Court’s intervention. Id.

     What’s more, a stay would ensure that Morris & Dickson receives

at least one opportunity to vindicate its constitutional rights in federal

court. Morris & Dickson tried to protect those rights in federal court prior



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to the administrative hearing, but the District Court erroneously forced

Morris & Dickson to proceed first through DEA. Absent a stay, and if

forced to close, Morris & Dickson will be unable to press its constitutional

claims in court. But it is not in the public interest to allow administrative

agencies to escape review by shuttering their targets. See, e.g., Gordon

v. Holder, 721 F.3d 638, 653 (D.C. Cir. 2013).

     On the other side of the ledger, DEA cannot maintain there is now

an immediate need to shut Morris & Dickson down. One more time, DEA

waited nearly four years to act on ALJ Dorman’s recommendation. And

the Administrator delayed the Order’s effective date even more, to 90

days. Ex. B, 34,522. Indeed, DEA has never seriously suggested that

there is a genuine risk of Morris & Dickson—operating now under its

redone compliance regime—doing anything besides continuing to serve

the public.




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                            CONCLUSION

     This Court should stay DEA’s Order pending the Court’s review of

Morris & Dickson’s petition.




Dated: June 2, 2023                        Respectfully submitted,

                                           /s/ Jeffrey R. Johnson
Jim Walden                                 Jeffrey R. Johnson
John Curran                                  Counsel of Record
Veronica M. Wayner                         Harry S. Graver
James Meehan                               JONES DAY
WALDEN MACHT & HARAN LLP                   51 Louisiana Ave., N.W.
250 Vesey Street, 27th Floor               Washington, D.C. 20001
New York, NY 10281                         (202) 879-3939
(212) 335-2030                             jeffreyjohnson@jonesday.com
jwalden@wmhlaw.com

           Counsel for Petitioner Morris & Dickson Co., LLC




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                 CERTIFICATE OF COMPLIANCE

     In accordance with Federal Rule of Appellate Procedure 32(g), I

certify that this motion complies with the type-volume limitation of

Federal Rule of Appellate Procedure 27(d)(2)(A) because it contains 5,162

words, as counted by Microsoft Word, excluding the parts of the motion

excluded by Federal Rule of Appellate Procedure 32(f).

     This motion complies with the typeface requirements of Federal

Rule of Appellate Procedure 32(a)(5) and the typestyle requirements of

Federal Rule of Appellate Procedure 32(a)(6) because it has been

prepared using Microsoft Word in Century Schoolbook Std 14-point font.




     Dated: June 2, 2023                   /s/ Jeffrey R. Johnson
                                           Counsel of Record for Petitioner
                                           Morris & Dickson Co., LLC




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         CERTIFICATE OF ELECTRONIC SUBMISSION

     I certify that: (1) any required privacy redactions have been made,

5th Cir. R. 25.2.13; (2) the electronic submission of this document is an

exact copy of any corresponding paper document, 5th Cir. R. 25.2.1; and

(3) the document has been scanned for viruses with the most recent

version of a commercial virus scanning program and is free from viruses.




     Dated: June 2, 2023                   /s/ Jeffrey R. Johnson
                                           Counsel of Record for Petitioner
                                           Morris & Dickson Co., LLC




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                    CERTIFICATE OF SERVICE

     I certify that on June 2, 2023, the foregoing motion was

electronically filed with the United States Court of Appeals for the Fifth

Circuit using the CM/ECF system. Participants in the case are registered

CM/ECF users, and service will be accomplished by the appellate

CM/ECF system.




     Dated: June 2, 2023                   /s/ Jeffrey R. Johnson
                                           Counsel of Record for Petitioner
                                           Morris & Dickson Co., LLC




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        DECLARATIONS
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                             Declarations

Declaration of Braden Hunter

Declaration of Mike Casida

Declaration of Jody Hatcher

Declaration of Jim Walden
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                        MORRIS & DICKSON CO., LLC,
                                 Petitioner,

                                        v.
          UNITED STATES DRUG ENFORCEMENT ADMINISTRATION,
                                 Respondent.

               DECLARATION OF BRADEN HUNTER

     Braden Hunter, pursuant to 28 U.S.C. § 1746, hereby declares

under penalty of perjury, as follows:

     1.     I am the Chief Financial Officer (“CFO”) of Morris & Dickson

Co., LLC (“Morris & Dickson” or the “Company”) and have served in that

role since November 2022.

     2.     I hold a Bachelor of Business Administration from Texas

A&M University, where I studied Accounting, and a Master of Science

from Texas A&M University, where I studied Management Information

Systems.

     3.     I have more than 20 years of corporate finance experience and

six years in the healthcare industry.

     4.     From 2017 to 2019, I ran Pricing and Business Development

for McKesson, the nation’s largest pharmaceutical distributor, where I
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oversaw the request for proposal (“RFP”) process for pharmaceutical

distribution businesses for thousands of pharmacies and over $50 billion

in yearly pharmaceutical spending—that is, the purchase of McKesson

products by pharmacies.

     5.    From 2019 to 2021, I was the Vice President of Retail

Pharmacy for McKesson, where I was responsible for all financial aspects

of the company’s approximately             $120   billion   Retail   Pharmacy

distribution business.

     6.    I respectfully submit this Declaration in support of Morris &

Dickson’s motion for a stay pending this Court’s determination of its

Petition for Review of the order of the United States Drug Enforcement

Administration (“DEA”), published in the Federal Register on May 30,

2023 (the “Final Order”), revoking Morris & Dickson’s controlled

substances registrations. The Final Order states that it is effective 90

days after its publication.

     7.    As Morris & Dickson’s CFO, and based on my experience in

finance and the healthcare industry, failing to obtain a stay of the DEA’s

order would cause immediate and irreparable harm to Morris &

Dickson’s business and threaten the Company’s existence.


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     8.    The pharmaceutical wholesale industry is based on a primary

distribution model. Due to the complexity of sourcing pharmaceuticals

from thousands of manufacturers, health care providers (such as hospital

systems) select one distributor to provide most, if not all, of their

pharmaceutical products. A prerequisite to serving in this space as a

wholesaler is to have access to all product categories that a health care

provider may need. The inability to provide certain product categories—

especially one as critical to patient care as controlled substances—

precludes a distributor from participating in the market. If Morris &

Dickson were to lose its registrations for controlled substances for even a

short time, its customer base would be forced to look for other suppliers

for all of their pharmaceutical needs.

     9.    As explained in the Declaration of Mike Casida, Morris &

Dickson’s Senior Director of Health Systems, 70% of Morris & Dickson’s

revenue is from health systems and institutional businesses. These are

complex supply chains supporting the most underprivileged patient

bases. Each month, Morris & Dickson provides over 22,000 deliveries,

containing more than 245,000 boxes and 20,000 cold chain products, to

these health care providers. Many of our institutional businesses must


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follow legal requirements to perform full RFPs prior to switching

wholesalers to ensure patient safety and to safeguard overall health care

costs.     These processes can take up to nine months—and possibly

longer—to complete.

         10.   Unless a stay is granted, major health systems and

government institutions will be cut off from the supplies they need to

function. They will also be left without sufficient time to find suitable

replacements. As a result, their patients’ access to critical health care

services will be placed in jeopardy. Large portions of the healthcare

supply chain in the Southeastern United States will suffer.

         11.   Further, as Morris & Dickson’s CFO, I can say with

reasonable certainty that the Company will sustain a devastating hit to

its finances unless a stay is granted. Even a modest loss of its primary

customer base—health systems and institution businesses —would

render the Company unable to pay the high cost of doing business in the

pharmaceutical industry.

         12.   Only the grant of a stay pending this Court’s determination of

its Petition for Review will prevent irreparable financial harm to the

Company and protect patients and businesses in the Southeastern


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United States from becoming collateral damage.

     Respectfully submitted this 2nd day of June, 2023.



                                         /s/ Braden Hunter____________
                                         Braden Hunter




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                        MORRIS & DICKSON CO., LLC,
                                  Petitioner,

                                        v.
          UNITED STATES DRUG ENFORCEMENT ADMINISTRATION,
                                  Respondent.

                 DECLARATION OF MIKE CASIDA

     Mike Casida, pursuant to 28 U.S.C. § 1746, hereby declares under

penalty of perjury, as follows:

     1.     I am the Senior Director, Health Systems at Morris & Dickson

Co., LLC (“Morris & Dickson” or the “Company”). I lead all institutional

sales efforts for the Company, including Morris & Dickson’s supply of

pharmaceutical products to hospitals and health systems in the

Southeastern United States. I am the relationship manager and primary

point of contact with hospitals and health systems.

     2.     I respectfully submit this Declaration in support of Morris &

Dickson’s motion for a stay pending this Court’s determination of its

Petition for Review of the order of the United States Drug Enforcement

Administration (“DEA”), published in the Federal Register on May 30,

2023 (the “Final Order”), revoking M&D’s controlled substances
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registrations. The Final Order states that it is effective 90 days after its

publication.

     3.    I hold a Bachelor of Arts from the University of Oklahoma,

where I studied Administrative Leadership.

     4.    I joined Morris & Dickson in November 2001. Prior to joining

the Company, I held a management position at another major

pharmaceutical distributor. I am fully familiar with and experienced in

the wholesale distribution of pharmaceutical products to health and

hospital   systems,     including   both    controlled   and    non-controlled

substances.

     5.    Hospitals often operate as part of a greater health system,

composed of hospitals, clinics, and outpatient pharmacies—which are

often located within a hospital. In this Declaration, I will refer to this

network as a “Health System.” My duties at Morris & Dickson include

being the leader of the Company’s relationship with Health Systems.

     6.    Almost all of the Health Systems serviced by Morris &

Dickson are public non-profit entities, publicly funded and managed.

Generally, an agreement between Morris & Dickson and a Health System

must be approved by a public agency.


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     7.       Most Health Systems obtain their supply of pharmaceutical

products through a formal bidding process. That process usually consists

of: (1) a request for proposal is provided to capable suppliers; (2) a 30-to-

60 day period for distributors to submit proposals; (3) a period lasting

approximately three to six months period to review the proposals; and (4)

the award of the supply contract. Thus, completing the process to procure

a vendor for pharmaceutical products usually takes at least six to nine

months. It is my understanding that this period could be abbreviated in

an emergency, but in my experience, even on an emergency basis,

changing the wholesale distributor would require two to three months in

order to ensure the adequate operation of the Health System and patient

safety.

     8.       Most of Morris & Dickson’s relationships with Health

Systems were procured through the competitive bidding process. These

successful competitive bids comprise a large percentage of Morris &

Dickson’s revenue earned from Health Systems.                 Overall, Health

Systems make up approximately 70% of the Company’s revenue.

     9.       The Company usually serves as the primary distributor for

the Health Systems with which it conducts business. These contracts


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generally indicate that the Company will provide the customer with both

controlled and non-controlled substances. As Morris & Dickson provides

between 90-95% of the entity’s controlled and non-controlled substances,

it plays a vital role in the Health System’s patient care.

     10.   Based upon my expertise, experience and knowledge of the

wholesale supply of pharmaceutical products to Health Systems, Health

Systems will not award—and generally will not continue a contract

with—a wholesaler that is not able to fill its orders both for controlled

and non-controlled substances.

     11.   Therefore, the current 90-day period between publication of

the Final Order and the date it takes effect will not adequately protect

Morris & Dickson from the resulting severe consequences.                     Health

Systems have a basic duty to provide pharmaceutical products to their

patients. Absent a stay, Health Systems will be required to find an

alternative source of supply, rendering the decision by this Court moot

before it can be issued.

     12.   Finally, I have read the Final Order. It concerns conduct prior

to 2018, and none of the 2018 conduct addressed in the Final Order

pertained to Morris & Dickson’s business with Health Systems. Thus,


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Morris & Dickson is in peril of losing 70% of its revenue, even though the

Company’s relationship with that source of revenue—Health Systems—

was not the subject of the Final Order.

     Respectfully submitted this 2nd day of June, 2023.



                                          /s/ Mike Casida____________
                                          Mike Casida




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                        MORRIS & DICKSON CO., LLC,
                                  Petitioner,

                                      v.
          UNITED STATES DRUG ENFORCEMENT ADMINISTRATION,
                                  Respondent.

                DECLARATION OF JODY HATCHER

     Jody Hatcher, pursuant to 28 U.S.C. § 1746, hereby declares under

penalty of perjury, as follows:

     1.     I am the Chief Executive Officer (“CEO”) of Morris & Dickson

Co., LLC (“Morris & Dickson” or the “Company”), and have served in that

role since April 14, 2021.

     2.     I hold an M.B.A. from the University of Dallas, where I

studied business management.

     3.     I have more than 30 years of experience in the healthcare

industry.

     4.     From December 2008 through April 2015, I was the President

and CEO of Novation, a healthcare services company.

     5.     From April 2015 through January 2016, I was the President

of Offering Delivery and Operations at healthcare services company VHA
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UHC Alliance, a precursor to Vizient, Inc.

       6.    From February 2016 through December 2019, I was the

President of supply chain services for Vizient, Inc., the country’s largest

healthcare performance improvement company.

       7.    I have also served on the Board of Directors of numerous

companies in the healthcare industry, including GHX, Health Care

Supply Chain Association, Provista, PartsSource Inc., Cohealo, Inc., and

PDI.

       8.    Through these positions, I have gained extensive experience

with the operations of the healthcare industry, and in particular

healthcare supply chains.

       9.    Morris & Dickson is a pharmaceutical distribution company

and a licensed wholesaler in 29 states. The Company has more than 600

employees. It distributes approximately 30,000 products to more than

2,000 customers, including independent retail pharmacies, health

systems, and alternate care customers, some of which are located in the

most medically underserved locales in the Nation. Approximately 70%

of Morris & Dickson’s revenue stream comes from hospital systems.

       10.   I have reviewed the order of the United States Drug


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Enforcement Administration (“DEA”), published in the Federal Register

on May 30, 2023 (the “Final Order”), revoking M&D’s controlled

substances registrations.. I have also reviewed DEA’s May 23, 2023

Order extending the effective date of the Final Order to 90 days after its

publication.

     11.   If the Final Order takes effect prior to the resolution of the

Company’s Petition for Review of the Final Order, I can say without

reservation that the consequences will likely be catastrophic for Morris

& Dickson’s business operations.

     12.   Anything less than a full stay pending resolution of the

Petition for Review will cause customers to take their business

elsewhere, as they will not want to endanger their supply. The vast

majority of our customers have a near-exclusive relationship with Morris

& Dickson and rely heavily on the Company. Morris & Dickson is their

primary distributor, from whom they buy both controlled and non-

controlled substances.     This type of exclusivity is standard in the

healthcare industry, for reasons ranging from contracting practices, to

fluctuating market conditions, to streamlined supply chains designed to

best serve patient populations.


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     13.   Due to this system, customers will not stay in a relationship

that poses risk to their supply.          Customers cannot easily change

distributors on a moment’s notice.        For example, a health system—

essentially a conglomerate of hospitals—may need six to nine months to

adequately vet alternative distributors.      County and State agencies,

many of which Morris & Dickson serve, also have legal obligations to fully

bid their business prior to switching distributors. This process can take

up to a year given the complexity of these markets.

     14.   Given this lag in time, DEA’s decision to stay the Final Order

for 90 days following its publication in the Federal Register (rather than

the usual 30) will not meaningfully affect a customer’s decision about

whether to begin the process of changing distributors. Where health

systems have legal obligations to bid their business prior to a wholesaler

switch, a 90-day timeline poses an immediate and significant risk to their

ability to serve their patient populations and puts lives at risk.

     15.   Moreover, customers require that a distributor supply them

with both non-controlled and controlled substances. Depriving Morris &

Dickson the ability to sell the latter poses immediate and significant risk.

Any disruption to the continuity of supply—even as brief as a week—is a


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threat to a customer’s inventory supply.         The deterioration of the

Company’s customer base, prior to the Court’s decision on Morris &

Dickson’s Petition for Review, renders an ultimate decision in Morris &

Dickson’s favor meaningless, because the irreparable harm will already

be done.

     16.   I understand, based on my review of Morris & Dickson records

and my communications with customers, that in the days following

DEA’s issuance of its May 2, 2018 Order to Show Cause and Immediate

Suspension of Registration (“ISO”), several logistics providers and

customers stopped doing business with the Company. After becoming

CEO, I quickly recognized that the ISO’s effect was long-lasting. Some

customers permanently terminated their relationships, while many

others resumed purchasing from Morris & Dickson only recently.

     17.   Based on my industry experience, I can state without

reservation that if the Final Order is not stayed during the resolution of

the Petition for Review, Morris & Dickson will face an existential risk

that manufacturers, logistics vendors, and customers will terminate their

relationship with Morris & Dickson.         These trading partners and

customers—by necessity—will have to find a substitute supplier for their


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inventory before the litigation is resolved. These customers are unlikely

ever to return to Morris & Dickson, causing irreparable damage to the

Company even if it prevails on its Petition for Review.

     18.   The harm that will occur in the absence of a stay extends

beyond the Company’s customers.             It involves others in the

pharmaceutical supply chain, such as the manufacturers and logistics

vendors. In fact, in the short period of time that has elapsed since news

of the Final Order became public, manufacturers have already told

Morris & Dickson that they are holding orders to the Company.

     19.   Morris & Dickson will also likely suffer adverse consequences

from state regulators if the Final Order takes effect. In addition to its

registrations with DEA, Morris & Dickson must maintain valid licenses

in the 29 states in which it is a registered wholesaler.

     20.   In my experience with regulators over the years, any

disciplinary action imposed by DEA is highly likely to be adopted in sum

and substance by state regulators, even though Morris & Dickson has

operated safely and effectively over the last four years.

     21.   As a result, if the Final Order takes effect, and Morris &

Dickson’s DEA registrations are revoked, I can confidently state that the


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Company’s state licenses permitting its activities as a pharmaceutical

wholesaler will likely be revoked as well.

     22.   The Final Order comes after Morris & Dickson helped

Louisiana navigate the COVID-19 pandemic; appointed a new,

independent Chief Executive Officer; spent millions of dollars enhancing

its compliance system to a “best in class” standard; and appointed both a

General Counsel and Chief Compliance Officer (with substantial anti-

diversion experience), among other executive positions that are now filled

by individuals with extensive industry experience.

     23.   Should the Final Order take effect without a stay pending this

Court’s review of the Petition for Review, the damage will be felt far and

wide. Hundreds of Company employees will lose their jobs. There will

be disruption to the pharmaceutical supply chain in the Southeastern

United States and beyond. Decades-long customer relationships will

abruptly end. A stay of the Final Order will avert irreversible injury to

the Company, as well as maintain the status quo for customers and the

many other stakeholders in the supply chain.




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Respectfully submitted this 2nd day of June, 2023.



                                    /s/ Jody Hatcher____________
                                    Jody Hatcher




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                        MORRIS & DICKSON CO., LLC,
                                 Petitioner,

                                        v.
          UNITED STATES DRUG ENFORCEMENT ADMINISTRATION,
                                 Respondent.

                  DECLARATION OF JIM WALDEN

     Jim Walden, pursuant to 28 U.S.C. §1746, hereby declares under

penalty of perjury as follows:

     1.      I, along with my ﬁrm, Walden Macht & Haran LLP (“Walden

Macht & Haran”), represent Morris & Dickson Co., LLC (“Morris &

Dickson”).

     2.      I offer this declaration to provide background on Morris &

Dickson’s    settlement    negotiations       with   the    Drug    Enforcement

Administration (“DEA”) in connection with its administrative matter,

Docket No. 18-31.

     3.      Morris   &   Dickson       was   initially    represented    in   the

administrative matter by Cadwalader, Wickersham & Taft, LLP.

Walden Macht & Haran was substituted as counsel in December 2021.

From my review of memoranda in our voluminous client ﬁle, I

understand that Morris & Dickson has been trying to resolve this matter
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through settlement since August 2018. Between August 2018 through

November 2019, Morris & Dickson offered DEA several proposals,

although no settlement was reached.

     4.     Shortly after Walden Macht & Haran became counsel for

Morris & Dickson, in January 2022, M&D met with DEA at their offices

in Arlington, Virginia. At that time, nearly three years had elapsed

without meaningful direct communications between the parties.

     5.     At that meeting, Morris & Dickson presented DEA with a new

settlement proposal, which it subsequently formalized into a term sheet

sent to DEA on January 17, 2022.

     6.     Over the next several months, Morris & Dickson and DEA

continued to engage in productive settlement discussions.             On two

occasions during this period, M&D traveled to Arlington for in-person

meetings.

     7.     On November 18, 2022, Paul Dean, counsel for DEA, informed

me that DEA could likely agree to one of Morris & Dickson’s key

requirements for a settlement: that M&D could keep its registration as

part of a settlement. I conveyed that information to Morris & Dickson.




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     8.       On May 18, 2023, a reporter from the Associated Press

contacted Morris & Dickson, requesting to speak about why DEA had not

acted on ALJ Charles Dorman’s recommendation to revoke Morris &

Dickson’s DEA registrations (the “ALJ Recommendation”). Morris &

Dickson promptly notiﬁed me of the Associated Press’s request.

     9.       That same day, I spoke to DEA’s counsel, who advised that he

was not aware of anyone at DEA providing these documents to the

reporter and that DEA generally viewed the administrative ﬁle as FOIA

exempt until after issuance of a ﬁnal order, which had not yet been

issued.

     10.      On May 19, 2023, I spoke to the reporter, who informed me

that he had been in contact with DEA. He also told me he was in

possession of a leaked copy of the ALJ Recommendation and other

unspeciﬁed documents from the conﬁdential administrative ﬁle. The

reporter said the ALJ Recommendation came from an unknown source.

     11.      Later that day, I spoke again to DEA’s counsel, who advised

that his “front office” approved the resumption of settlement

communications and would have no response to the reporter’s inquiry.




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     12.    One hour later, Morris & Dickson received via email an Order

from the DEA Administrator adopting the ALJ Recommendation and

revoking Morris & Dickson’s registrations (the “Final Order”), which

would become effective 30 days after the publication of that Order in the

Federal Register.

     13.    On May 22, 2023, I communicated with the Associated Press

reporter.   He conﬁrmed that he received some unspeciﬁed “new

documents” and, as a result, the Associated Press was advancing

publication of its story to the next day.

     14.    On May 23, 2023, the Associated Press published its story,

conﬁrming that it obtained a copy of the ALJ’s Recommendation to the

DEA Administrator and that the Administrator had issued the Final

Order revoking Morris & Dickson’s DEA registrations.

     15.    Notice of the Administrator’s order was not published until

May 26, 2023.

     Respectfully submitted this 2nd day of June, 2023.



                                            /s/ Jim Walden____________
                                            Jim Walden



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